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 7
                                UNITED STATES DISTRICT COURT
 8
                               WESTERN DISTRICT OF WASHINGTON
                                         AT TACOMA
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10      RONALD SATISH EMRIT,
                                                         CASE NO. 3:19-CV-05984-BHS
11                             Plaintiff,
                                                         REPORT AND RECOMMENDATION
12              v.
                                                         Noting Date: November 22, 2019
13      UNIVERSAL MUSIC GROUP,
        ISLAND DEF JAM GROUP, SHAKIR
14      STEWART, RICK ROSS,

15                             Defendants.

16
            Plaintiff Ronald Satish Emrit, proceeding pro se, initiated this action on October 15,
17
     2019, alleging copyright infringement. See Dkt. 1-1. The District Court has referred Plaintiff’s
18
     pending Application to Proceed In Forma Pauperis (“IFP”) and Proposed Complaint to United
19
     States Magistrate Judge David W. Christel pursuant to Amended General Order 02-19.
20
            Having reviewed and screened Plaintiff’s Application to Proceed IFP and the Proposed
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     Complaint under 28 U.S.C. § 1915(e)(2), the Court recommends Plaintiff’s Application to
22
     Proceed IFP be denied and this case be dismissed.
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 1      I.       Background

 2            Plaintiff alleges Defendants Universal Music Group, Island Def Jam Group, Estate of

 3 Shakir Stewart, and Rick Ross have “committed substantial copyright infringement.” Dkt. 1-1, p.

 4 1. Plaintiff contends Defendants “used the same ‘original works of authorship’ that the plaintiff

 5 has used in one of his songs copyrighted with the Library of Congress.” Id.

 6      II.      Discussion

 7            The district court may permit indigent litigants to proceed IFP upon completion of a

 8 proper affidavit of indigency. See 28 U.S.C. § 1915(a). However, the “privilege of pleading in

 9 forma pauperis . . . in civil actions for damages should be allowed only in exceptional

10 circumstances.” Wilborn v. Escalderon, 789 F.2d 1328 (9th Cir. 1986). The Court has broad

11 discretion in denying an application to proceed IFP. Weller v. Dickson, 314 F.2d 598 (9th Cir.

12 1963), cert. denied 375 U.S. 845 (1963). When the privilege is abused, permission to proceed

13 IFP may be denied. See Demos v. U.S. Dist. Court for Eastern Dist. Of Washington, 925 F.2d

14 1160, 1160-61 (9th Cir. 1991); see also In re Sindram, 498 U.S. 177, 180 (1991) (“In order to

15 prevent frivolous petitions for extraordinary relief from unsettling the fair administration of

16 justice, the Court has a duty to deny in forma pauperis to those individuals who have abused the

17 system.”); Johnson v. Irby, 2009 WL 1973510, at *3 (N.D. Fla. July 8, 2009) (“A court may

18 deny IFP status prospectively when the number, content, frequency, and disposition of a

19 litigant’s filings show an abusive pattern.”) (internal quotations omitted).

20            Notwithstanding IFP status, the Court must subject each civil action commenced pursuant

21 to 28 U.S.C. § 1915(a) to mandatory screening and order the sua sponte dismissal of any case

22 that is “frivolous or malicious,” “fails to state a claim on which relief may be granted,” or “seeks

23 monetary relief against a defendant who is immune from such relief.” 28 U.S.C. § 1915(e)(2)(B);

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 1 see also Calhoun v. Stahl, 254 F.3d 845, 845 (9th Cir. 2001) (“[T]he provisions of 28 U.S.C. §

 2 1915(e)(2)(B) are not limited to prisoners.”); Lopez v. Smith, 203 F.3d 1122, 1126–27 (9th Cir.

 3 2000) (en banc) (noting that 28 U.S.C. § 1915(e) “not only permits but requires” the court to sua

 4 sponte dismiss an IFP complaint that fails to state a claim). An in IFP complaint is frivolous if “it

 5 ha[s] no arguable substance in law or fact.” Tripati v. First Nat’l Bank & Trust, 821 F.2d 1368,

 6 1369 (9th Cir. 1987) (citing Rizzo v. Dawson, 778 F.2d 527, 529 (9th Cir. 1985); see also

 7 Franklin v. Murphy, 745 F.2d 1221, 1228 (9th Cir. 1984).

 8          A pro se plaintiff’s complaint is to be construed liberally, but like any other complaint it

 9 must nevertheless contain factual assertions sufficient to support a facially plausible claim for

10 relief. Ashcroft v. Iqbal, 556 U.S. 662, 678, (2009) (citing Bell Atlantic Corp. v. Twombly, 550

11 U.S. 544, 570 (2007)). A claim for relief is facially plausible when “the plaintiff pleads factual

12 content that allows the court to draw the reasonable inference that the defendant is liable for the

13 misconduct alleged.” Iqbal, 556 U.S. at 678.

14          Unless it is clear a pro se plaintiff cannot cure the deficiencies of a complaint, the Court

15 will provide the pro se plaintiff with an opportunity to amend the complaint to state a plausible

16 claim. See United States v. Corinthian Colleges, 655 F.3d 984, 995 (9th Cir. 2011) (“Dismissal

17 without leave to amend is improper unless it is clear, upon de novo review, that the complaint

18 could not be saved by any amendment.”).

19          A. Application to Proceed IFP

20          Plaintiff has a history of abusing the IFP privilege and Plaintiff has been acknowledged

21 as a vexatious litigator in at least six district courts. See Emrit v. Simon, Case No. 0:17-CV-4605-

22 SRN-SER (D. Minn. Nov. 14, 2017) (Dkt. 4, 9); Emrit v. Providence Housing Authority, 1:16-

23 CV-00543-WES-LDA (D.R.I. Jan. 4, 2017) (Dkt. 5); Emrit v. Arizona Supreme Court, 2016 WL

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 1 910151, at *4 (D. Ariz. Mar. 9, 2016); Emrit v. Social Security Admin., Case No. 2:14-CV-

 2 01760-GMN-PAL, at *1 (D. Nev. July 29, 2015) (Dkt. 36); Emrit v. Nat’l Academy of Recording

 3 Arts & Sciences, 2015 WL 518774, at *4 (W.D. Tex. Feb. 5, 2015); Emrit v. AOL Time Warner,

 4 Inc., Case no. 1:14-CV-00314-LAP (S.D.N.Y. May 16, 2014) (Dkt. 13); see also Emrit v. Office

 5 Depot, Inc., Case No. 8:13-CV-2297-RWT (D. Md. Jan. 3, 2014) (noting Plaintiff’s filings may

 6 indicate he is vexatious); Emrit v. Bank of America, Inc., Case No. 3:13-CV-547-RJC-DSC

 7 (W.D.N.C. Oct. 7, 2013) (same). The Ninth Circuit has also entered a pre-filing review order

 8 against Plaintiff. In re: Ronald Satish Emrit, No. 15-80221 (9th Cir. April 14, 2016). Further, a

 9 search of the Pacer electronic case database for cases filed under the name Ronald Satish Emrit

10 shows Plaintiff has filed approximately 375 cases or appeals in the federal court system. Plaintiff

11 has also filed a nearly identical complaint, naming the same Defendants, in both the Central

12 District of California (Case No. 2:19-CV-08774-PA-JEM) and the Middle District of Florida

13 (Case No. 8:19-CV-02562-VMC-SPF) days before initiating this lawsuit.

14          The Court finds the Proposed Complaint is frivolous and malicious as it is part of

15 Plaintiff’s ongoing and persistent pattern of abusing the IFP privilege by filing vexatious,

16 harassing, and duplicative lawsuits. Therefore, the Court recommends Plaintiff’s Application to

17 Proceed IFP be denied.

18          B. Dismissal of Case

19          “Under the [first-to-file] rule, when cases involving the same parties and issues have been

20 filed in two different districts, the second district court has discretion to transfer, stay, or dismiss

21 the second case in the interest of efficiency and judicial economy.” Cedars–Sinai Med. Ctr. v.

22 Shalala, 125 F.3d 765, 769 (9th Cir.1997); see also Alltrade, Inc. v. Uniweld Products, Inc., 946

23 F.2d 622, 625 (9th Cir. 1991).

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 1             Here, Plaintiff initiated this same lawsuit by filing the same complaint, naming the same

 2 Defendants, in both the Central District of California and the Middle District of Florida. Plaintiff

 3 initiated the Middle District of Florida lawsuit on October 10, 2019 and Central District of

 4 California lawsuit on October 11, 2019. Plaintiff did not initiate this lawsuit until October 15,

 5 2019. Further, the Middle District of Florida has granted Plaintiff IFP status, directed Plaintiff to

 6 complete and return summons forms, and directed the U.S. Marshal to serve Defendants. See

 7 Emrit v. Univerisal Music Group, et al., Case No. 8:19-CV-2562-VMC-SPF (M.D. Fla.). Thus,

 8 the Middle District of Florida case has proceeded past screening the complaint. As Plaintiff has

 9 filed duplicative cases and as the above-captioned case is the third-filed case, the Court finds this

10 case should be dismissed.

11      III.      Conclusion

12             For the above stated reasons, the Court recommends Plaintiff’s Application to Proceed

13 IFP (Dkt. 1) be denied and this case be dismissed as duplicative.

14             Pursuant to 28 U.S.C. § 636(b)(1) and Fed. R. Civ. P. 72(b), the parties shall have

15 fourteen (14) days from service of this Report to file written objections. See also Fed. R. Civ. P.

16 6. Failure to file objections will result in a waiver of those objections for purposes of de novo

17 review by the district judge. See 28 U.S.C. § 636(b)(1)(C). Accommodating the time limit

18 imposed by Fed. R. Civ. P. 72(b), the clerk is directed to set the matter for consideration on

19 November 22, 2019, as noted in the caption.

20             Dated this 4th day of November, 2019.



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                                                            David W. Christel
23                                                          United States Magistrate Judge

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